87 F.3d 1321
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Susan NAMETH, Plaintiff-Appellant,v.Shirley S. CHATER, Commissioner, Social SecurityAdministration*, Defendant-Appellee.
    No. 94-36215.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted May 10, 1996.Decided June 4, 1996.
    
      Before:  GOODWIN, SKOPIL and SCHROEDER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Plaintiff Susan Nameth appeals the judgment of the district court affirming the final decision of the Commissioner of the Social Security Administration denying her disability benefits under Titles II and XVI of the Social Security Act, 42 U.S.C. § 401 et seq.  (the "Act").
    
    
      3
      The Administrative Law Judge ("ALJ") after a hearing, denied disability benefits, finding the petitioner not disabled within the meaning of the Act.   The district court affirmed.
    
    
      4
      Our review is limited to the question whether the findings of the ALJ are supported by substantial evidence in the record as a whole and based upon the correct legal standards.  Drouin v. Sullivan, 966 F.2d 1255, 1257 (9th Cir.1992).   Substantial evidence is more than a scintilla but less than a preponderance.  Matney v. Sullivan, 981 F.2d 1016, 1019 (9th Cir.1992).   The evidence of the administrative hearing met that test.
    
    
      5
      AFFIRMED.
    
    
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
      
        **
         Pursuant to P.L. No. 103-296, the Social Security Independence and Program Improvements Act of 1994, the function of the Secretary of Health and Human Services in Social Security cases was transferred to the Commissioner of the Social Security Administration, effective March 31, 1995.   In accordance with section 106(d) of the Act, Shirley S. Chater, the Commissioner of Social Security, is substituted for Donna E. Shalala, Secretary of Health and Human Services, as the defendant
      
    
    